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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11     SKYLINE WESLEYAN CHURCH,                          Case No.: 3:16-cv-00501-RBM-MSB
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13     v.                                                MOTION AND ENTERING
                                                         JUDGMENT
14     CALIFORNIA DEPARTMENT OF
       MANAGED HEALTH CARE; MARY
15                                                       [Doc. 140]
       WATANABE, in her official capacity as
16     Director of the California Department of
       Managed Health Care,
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                                     Defendants.
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26          On May 10, 2023, Plaintiff Skyline Wesleyan Church (“Plaintiff”) and Defendants
27     California Department of Managed Health Care and Mary Watanabe, in her official
28     capacity as Director of the California Department of Managed Health Care (“DMHC”)

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 1     (collectively “Defendants”), filed a Stipulation and Proposed Order and Judgment
 2     (“Stipulation”) requesting the Court grant Plaintiff’s request for a permanent injunction on
 3     its Free Exercise Clause claim and that the remainder of Plaintiff’s claims be dismissed
 4     with prejudice. Good cause appearing, the Court hereby GRANTS the Parties’ joint
 5     motion (Doc. 140) and ORDERS as follows pursuant to the parties’ Stipulation:
 6           1.     Plaintiff’s request for a permanent injunction on its Free Exercise Clause
 7     claim is GRANTED.
 8           2.     The remainder of Plaintiff’s claims are DISMISSED with prejudice.
 9           3.     The DMHC is ordered to consider requests and proposals from Plaintiff for
10     abortion care coverage comporting with its religious beliefs, and to approve or provide
11     feedback on the proposed coverage within 30 days.
12           4.     If and when the DMHC approves coverage language comporting with
13     Plaintiff’s beliefs, the DMHC must request Plaintiff’s plan submit an amended evidence of
14     coverage document containing the approved language within 30 days.
15           5.     Defendants will pay to Plaintiff a total of $900,000 in attorneys’ fees and costs
16     (including $50,000 for local counsel and $850,000 for counsel Alliance Defending
17     Freedom).
18           6.     This payment will completely satisfy Defendants’ obligation to pay attorneys’
19     fees and costs in this matter; Plaintiff will not be entitled to any interest.
20           7.     This payment is contingent upon certification of availability of funds and the
21     approval of the Director of the California Department of Finance.
22           8.     Plaintiff understands that the submission of the claims bill cannot be made
23     without an order of this Court regarding the Parties’ agreement for the payment of
24     attorneys’ fees and costs.
25           9.     If Defendants fail to pay the agreed-upon sum of $900,000 by June 30, 2023,
26     Plaintiff retains the right to pursue an award of attorneys’ fees under 42 U.S.C. § 1988.
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 1           10.    All of Plaintiff’s claims and requested relief having been resolved pursuant to
 2     the parties’ Stipulation, (id. ⁋ 3), the Clerk of Court shall enter judgment in accordance
 3     with this Order and close the case.
 4           IT IS SO ORDERED.
 5     Dated: May 11, 2023
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